 8:13-cr-00211-LSC-FG3        Doc # 93     Filed: 12/17/13    Page 1 of 2 - Page ID # 234




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                      )             CASE NO. 8:13CR211
                                               )
              Plaintiff,                       )
                                               )
              vs.                              )             TENTATIVE FINDINGS
                                               )
NARISSA PAPPAN,                                )
                                               )
              Defendant.                       )

       The Court has received the Revised Presentence Investigation Report and

Addendum (“PSR”) and Defendant Pappan’s Objections to Revised Presentence

Investigation Report and Sentencing Memorandum (Filing Nos. 80 and 81).                 The

government filed an Objection to Presentence Investigation Report and Addendum and

Plaintiff’s Statement (Filing No. 88). The Court advises the parties that these Tentative

Findings are issued with the understanding that, pursuant to United States v. Booker, 543

U.S. 220 (2005), the sentencing guidelines are advisory.

       Accordingly,

       IT IS ORDERED:

       1.     The parties’ objections regarding the PSR (Filing Nos. 80 and 88) will be

heard at the sentencing hearing;

       2.     The Court intends to adopt the PSR in all other respects;

       3.     If any party wishes to challenge these tentative findings, the party shall

immediately file in the court file and serve upon opposing counsel and the Court a motion

challenging these tentative findings, supported by (a) such evidentiary materials as are

required (giving due regard to the requirements of the local rules of practice respecting the

submission of evidentiary materials), (b) a brief as to the law, and (c) if an evidentiary

hearing is requested, a statement describing why an evidentiary hearing is necessary and

an estimated length of time for the hearing;
 8:13-cr-00211-LSC-FG3        Doc # 93    Filed: 12/17/13   Page 2 of 2 - Page ID # 235




       4.     Absent submission of the information required by paragraph 3 of this Order,

these tentative findings are final; and

       5.     Unless otherwise ordered, any motion challenging these tentative findings

shall be resolved at sentencing.

       DATED this 17th day of December, 2013.

                                                BY THE COURT:


                                                s/Laurie Smith Camp
                                                Chief United States District Judge




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